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8                             UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   STEPHEN TURNER, an individual,             Case No.: 8:24-cv-02621
12               Plaintiff,
                                                COMPLAINT FOR
13         vs.
                                                   (1) VIOLATION OF THE UNRUH
14   VANATI INVESTMENTS COMPANY,
     LLC, a limited liability company;                 CIVIL RIGHTS ACT
15                                                     (CALIFORNIA CIVIL CODE
                 Defendants.                           §§ 51, 52);
16
                                                   (2) VIOLATIONS OF THE
17
                                                       AMERICANS WITH
18                                                     DISABILITIES ACT OF 1990
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1                                                I.
                                              SUMMARY
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3            1.    This is a civil rights action by plaintiff Stephen Turner (“Plaintiff”) for
4    discrimination at the building, structure, facility, complex, property, land,
5    development, and/or surrounding business complex bearing the legal address of 100
6    W. Bastanchury Rd., Fullerton, CA 92835-2502 (Orange County) (“Property”).
7    Plaintiff often frequents the area as he lives approximately 25 minutes from the
8    Property and there are many restaurants and businesses in the area that he enjoys
9    patronizing. On this particular occasion, he desired to patronize the “76 Gas Station”
10   located at the Property.
11           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
12   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
13   12101, et seq.) and related California statutes 1 against Defendant, the owner VANATI
14   INVESTMENTS COMPANY, LLC, a limited liability company (“Defendant”).
15                                                   II.
16                                         JURISDICTION
17           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
18   for ADA claims.
19           4.    Supplemental jurisdiction for claims brought under parallel California
20   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
21   1367.
22           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
23                                               III.
24                                              VENUE
25           6.    All actions complained of herein take place within the jurisdiction of the
26   United States District Court, Central District of California, and venue is invoked
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     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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     pursuant to 28 U.S.C. § 1391(b), (c).
2
                                               IV.
3
                                             PARTIES
4
           7.     Defendant is or was at the time of the incident, the owner, operator,
5
     lessor and/or lessee of the Property, and consists of a person (or persons), firm,
6
     company, and/or corporation.
7
           8.     Plaintiff is a paraplegic, and as a result is unable to walk or stand, and
8
     thus requires a use of a wheelchair at all times when traveling in public. Plaintiff is
9
     “physically disabled” as defined by all applicable California and United States laws,
10
     and a member of the public whose rights are protected by these laws. Plaintiff is not a
11
     high frequency litigant as that term is defined under California Code of Civil
12
     Procedure § 425.55(b). In the previous 12 months Plaintiff has filed five (6)
13
     accessibility lawsuits (not including this one).
14
                                               V.
15
                                              FACTS
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           9.     On or about September 3, 2024, Plaintiff attempted to patronize the
17
     Property. The Property is a sales or retail establishment, open to the public, which is
18
     intended for nonresidential use and whose operation affects commerce.
19
           10.    Plaintiff visited the Property and encountered barriers (both physical and
20
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
21
     enjoy the goods, services, privileges and accommodations offered at the facility. To
22
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
23
     to the following:
24              a. Parking spaces designated as accessible are not properly marked.
25                Specifically, the parking spaces lack the required vertical signage
26                indicating that the space is reserved for accessible parking. The
27                pavement markings are also severely faded thus making it difficult to
28                determine whether such a space is intended to and for purposes of
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1                   accommodating persons with disabilities. The lack of proper signage
2                   pavement marking also fails to deter other cars from parking in the access
3                   aisle. For example, on this particular instance, the accompanying access
4                   aisle next to the accessible space was blocked by a golf cart, that
5                   presumably belonged to the business. To safely enter and exit his vehicle,
6                   Plaintiff requires the use of a properly configured accessible parking
7                   space to transfer out of his vehicle onto his wheelchair. When another
8                   car uses that access aisle, Plaintiff cannot safely and comfortably exit out
9                   of, or enter into his vehicle.
10               b. Defendant’s policy of parking its golf cart in the access aisle denies
11                  Plaintiff the use of the access aisle, and makes it difficult for Plaintiff
12                  when exiting or entering his vehicle.
13               c. The restrooms serving the Subject Property are not properly configured,
14                  including but limited to under the sink piping that is not properly
15                  covered. As a result, Plaintiff cannot comfortably reach the sink to wash
16                  his hands, for fear of burning his leg on the uncovered piping.
17
           11.      These barriers to access are listed without prejudice to Plaintiff citing
18
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
19
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
20
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
21
     Property.
22
           12.      Plaintiff thus experienced difficult, discomfort and embarrassment as a
23
     result of the accessible barriers he encountered. He continues to be deterred from
24
     visiting the Property because of the future threats of injury created by these barriers.
25
     Plaintiff would return to the Property once the barriers are corrected as the gas station
26
     located at the Property is located conveniently around businesses that Plaintiff enjoys
27
     patronizing. Within 6 months of the correction or removal of barriers Plaintiff would
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1
     return to the Property to not only patronize the business, but also to ensure that the
2
     accessible barriers have been properly removed.
3
           13.    Defendant knew that these elements and areas of the Property were
4
     inaccessible, violate state and federal law, and interfere with (or deny) access to the
5
     physically disabled. Moreover, Defendant has the financial resources to remove these
6
     barriers from the Property (without much difficult or expense), and make the Property
7
     accessible to the physically disabled. To date, however, the Defendant refuses to
8
     remove those barriers.
9
           14.    At all relevant times, Defendant has possessed and enjoyed sufficient
10
     control and authority to modify the Property to remove impediments to wheelchair
11
     access and to comply with the Americans with Disabilities Act Accessibility
12
     Guidelines and Title 24 regulations. Defendant has not removed such impediments
13
     and has not modified the Property to conform to accessibility standards.
14
                                              VI.
15
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
16
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
17
       AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
18
                                     CODE SECTION 51(f)
19
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
20
     14 for this claim and incorporates them herein.
21
           16.    At all times relevant to this complaint, California Civil Code § 51 has
22
     provided that physically disabled persons are free and equal citizens of the state,
23
     regardless of disability or medical condition:
24
           All persons within the jurisdiction of this state are free and equal, and
25
           no matter what their sex, race, color, religion, ancestry, national
26
           origin, disability, or medical condition are entitled to the full and
27
           equal accommodations, advantages, facilities, privileges, or services
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           in all business establishments of every kind whatsoever. Cal. Civ.
2
           Code § 51(b).
3
           17.     California Civil Code § 52 provides that the discrimination by Defendant
4
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
5
     discrimination provisions of §§ 51 and 52.
6
           18.    Defendant’s discrimination constitutes a separate and distinct violation of
7
     California Civil Code § 52 which provides that:
8
           Whoever denies, aids or incites a denial, or makes any discrimination
9
           or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
10
           every offense for the actual damages, and any amount that may be
11
           determined by a jury, or a court sitting without a jury, up to a
12
           maximum of three times the amount of actual damage but in no case
13
           less than four thousand dollars ($4,000) and any attorney’s fees that
14
           may be determined by the court in addition thereto, suffered by any
15
           person denied the rights provided in Section 51, 51.5 or 51.6.
16
           19.    Plaintiff continues to be deterred from visiting the Subject Property based
17
     upon the existence of the accessible barriers. In addition to the instance of deterrence
18
     occurring on September 2024, Plaintiff is entitled to $4,000.00 in statutory damages
19
     for each additional occurrence of discrimination under California Civil Code § 52.
20
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
21
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
22
     thus independently justifying an award of damages and injunctive relief pursuant to
23
     California law. Per § 51(f), “[a] violation of the right of any individual under the
24
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
25
     section.”
26
           21.    The actions and omissions of Defendant as herein alleged constitute a
27
     denial of access to and use of the described public facilities by physically disabled
28
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     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
2
     result of Defendant’s action and omissions Defendant has discriminated against
3
     Plaintiff in a violation of Civil Code §§ 51 and 51.
4
                                               VII.
5
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
6
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
7
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
8
     21 for this claim and incorporates them herein.
9
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
10
     Congress passed “Title III – Public Accommodations and Services Operated by
11
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
12
     entities” which are considered “public accommodations” for purposes of this title,
13
     which includes any “restaurant, bar, or other sales or rental establishment serving food
14
     or drink.” § 301(7)(B).
15
           24.    The ADA states that “[n]o individual shall be discriminated against on
16
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
17
     privileges, advantages, or accommodations of any place of public accommodation by
18
     any person who owns, leases, or leases to, or operates a place of public
19
     accommodation.” 42 U.S.C. § 12182.
20
           25.    The acts and omissions of Defendant set forth herein were in violation of
21
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
22
     Part 36 et seq.
23
           26.    The removal of each of the barriers complained of by Plaintiff as
24
     hereinabove alleged, were at all times herein mentioned "readily achievable" under the
25
     standards §§ 30 l and 302 of the ADA. As noted hereinabove, removal of each and
26
     every one of the architectural barriers complained of herein were also required under
27
     California law. Further, on information and belief, alterations, structural repairs or
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     additions since January 26, 1993 have also independently triggered requirements for
2
     removal of barriers to access for disabled persons per § 303 of the ADA. In the event
3
     that removal of any barrier is found to be "not readily achievable," Defendant still
4
     violated the ADA, per§ 302(b )(2)(A)(v) by failing to provide all goods, services,
5
     privileges, advantages and accommodations through alternative methods that were
6
     readily achievable.
7
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
8
     Property and as of the filing of this Complaint, the Defendant has denied and
9
     continues to deny full and equal access to Plaintiff and to other disabled persons,
10
     including wheelchair users, in other respects, which violate plaintiff's rights to full and
11
     equal access and which discriminate against Plaintiff on the basis of his disability,
12
     thus wrongfully denying to plaintiff the full and equal enjoyment of the goods,
13
     services, facilities, privileges, advantages and accommodations, in violation of§§ 302
14
     and 303 of the ADA. 42 USC§§ 12182 and 12183.
15
           28.    On information and belief, Defendant has continued to violate the law
16
     and deny the rights of Plaintiff and other disabled persons to access this public
17
     accommodation since on or before Plaintiff's encounters, as previously noted.
18
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
19
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
20
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
21
     in violation of the ADA or has reasonable grounds for believing that he is about to be
22
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
23
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
24
     make such facilities readily accessible to and usable by individuals with disabilities to
25
     the extent required by this title."
26
           29.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
27
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
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                                                   7
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     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
2
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
3
     to discrimination on the basis of disability in violation of Title III and who has
4
     reasonable grounds for believing he will be subjected to such discrimination each time
5
     that he may attempt to use the property and premises.
6

7
                                             PRAYER
8
              WHEREFORE, Plaintiff prays that this court award damages and provide relief
9
     as follows:
10
        1. Issue a preliminary and permanent injunction directing Defendant as current
11
     owner, operator, lessor, and/or lessee of the property and premises to modify the
12
     above described property and premises and related facilities so that each provides full
13
     and equal access to all persons, including but not limited to persons with physical
14
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
15
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
16
     situated persons with disabilities, and which provide full and equal access, as required
17
     by law, including appropriate changes in policy;
18
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
19
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
20
     inaccessible public facilities as complained of herein no longer occur, and can not
21
     recur;
22
        3. Award to Plaintiff all appropriate damages, including but not limited to
23
     statutory damages, general damages and treble damages in amounts within the
24
     jurisdiction of this Court, all according to proof;
25
        4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
26
     costs of this proceeding as provided by law;
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1
         5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
2
      329;
3
         6. Grant such other and further relief as this Court may deem just and proper.
4

5                                        ASCENSION LAW GROUP, PC

6        DATE: December 3, 2024

7                                                   /s/Pamela Tsao

8                                        Pamela Tsao, attorney for Plaintiff

9                                              STEPHEN TURNER

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